                  1:22-cv-01360-EIL # 39    Filed: 12/19/23    Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                      Urbana Division



BRUCE DICKSTEIN,

                Plaintiff,

v.                                                            Case No. 22-1360

ANTHONY D. MALZONE,

                Defendant.

                                        ORDER

          This case is before the Court on Defendant’s Motion to Disqualify Robbins
DiMonte, Ltd. as Counsel for Plaintiff (#33) and Motion for Discovery Relating to the
Motion to Disqualify (#36). Plaintiff filed Responses (#35, #36) in opposition. For the
reasons provided below, Defendant’s Motion to Disqualify Robbins DiMonte, Ltd. as
Counsel for Plaintiff (#33) and Motion for Discovery Relating to the Motion to
Disqualify (#36) are DENIED.
     I.      Background
          Plaintiff and Defendant are each 50% owners of the Dickstein & Malzone
Partnership (“Partnership”). Plaintiff’s federal Complaint seeks dissolution of the
Partnership. Defendant’s Motion seeks to disqualify Plaintiff’s counsel, Robbins
DiMonte, Ltd. (“Robbins”), from representing Plaintiff in this case. Defendant argues
that Robbins has a conflict of interest arising from state court proceedings in which
Robbins represents two tenants of the partnership against one of its partners.
          Robbins represented tenants Kimberlee Mainord and Karl Sanor in seeking
orders of protection against Defendant Malzone. In the state court case seeking orders
of protection, the tenants alleged that Defendant Malzone engaged in harassment,
threats, and verbal abuse to extract rental money.
                  1:22-cv-01360-EIL # 39       Filed: 12/19/23    Page 2 of 3




         Defendant argues that Robbins’ representation of the tenants in the state court
action conflicts with his representation of Dickstein in this federal case. Defendant notes
that the tenants are making allegations of wrongdoing against Defendant, who was
acting on behalf of the Partnership. Defendant also notes that the Partnership can be
held liable to the tenants if the tenants file claims for damages based on Defendant’s
alleged actions. It is this risk of liability that Defendant relies on in alleging a conflict of
interest.
   II.      Analysis
         Central District of Illinois Local Rule 83.6(E) provides, “The Rules of Professional
Conduct adopted by this court are the Rules of Professional Conduct adopted by the
Supreme Court of Illinois.” Rule 1.7 of the Illinois Rules of Professional Conduct
provides:
         (a) Except as provided in paragraph (b), a lawyer shall not represent a
             client if the representation involves a concurrent conflict of interest. A
             concurrent conflict of interest exists if:

                       (1) the representation of one client will be directly adverse to
                           another client; or

                       (2) there is a significant risk that the representation of one or
                           more clients will be materially limited by the lawyer’s
                           responsibilities to another client, a former client or a third
                           person or by a personal interest of the lawyer.

Ill. R. Prof. Cond. 1.7(a).


         The district court “possesses broad discretion in determining whether
disqualification is required in a particular case.” Whiting Corp. v. White Machinery Corp.,
567 F.2d 713, 715 (7th Cir. 1977). The Seventh Circuit explained,
         We have observed that granting a motion for disqualification has
         immediate, severe, and often irreparable ... consequences for the party and
         disqualified attorney. Disqualifying a lawyer immediately deprives the
         losing party from the representation of his choice” and disrupts the
         litigation. In sum, disqualification, as a prophylactic device for protecting
         the attorney-client relationship, is a drastic measure which courts should

                                                2
                   1:22-cv-01360-EIL # 39          Filed: 12/19/23      Page 3 of 3




        hesitate to impose except when absolutely necessary ... because it destroys
        a relationship by depriving a party of representation of their own
        choosing.

Watkins v. Trans Union, LLC, 869 F.3d 514, 519 (7th Cir. 2017) (internal citations omitted).
        Here, the Court must determine whether Robbins’ representation of the tenants
creates a conflict of interest with its representation of Dickstein in the instant case. 1
Defendant argues that a conflict exists because Robbins is representing a member of the
partnership, Dickstein, in one lawsuit, and representing a tenant suing the other
member of the partnership at the same time. Robbins’ involvement with the tenants’
state court proceedings was limited thus far to the tenants’ orders of protection against
Malzone. As it stands, Dickstein has no material interest in the state court proceedings.
        The Court recognizes that while no conflict currently exists, the potential for a
conflict to arise exists. If the tenants choose to seek financial remedies in state court, any
damages awarded could impact the Partnership. However, at this stage, “[a]lthough the
court recognizes the potential for a conflict under Rule 1.7, it cannot conclude as a
matter of law that such a conflict exists at this time.” Walton v. Diamond, 2012 WL
6587723, at *2 (N.D. Ill. Dec. 14, 2012). Because any conflict is only theoretical at this
time, the Court denies Defendant’s request to disqualify Robbins from this case.
        For these reasons, Defendant’s Motion to Disqualify (#33) is denied. In addition,
Defendant’s Motion for Discovery (#36) is denied. As the case proceeds, “the court
expects full candor from defendant[] if and when such a conflict materializes.” Walton v.
Diamond, 2012 WL 6587723, at *3 (N.D. Ill. Dec. 14, 2012).



        ENTERED this 19th day of December, 2023.

                                                         s/ERIC I. LONG
                                                UNITED STATES MAGISTRATE JUDGE


1 Defendant made this same request to disqualify Robbins in the state court proceedings initiated by

Tenant Sanor. The circuit court found there was no basis to disqualify Robbins and denied the request.


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